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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE

10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12
                                                                   CASE NO. CR08-252 RSM
            v.
13
                                                                   DETENTION ORDER
     THANG D. NGUYEN,
14
                            Defendant.
15

16
     Offenses charged:
17
            Count 1 - Conspiracy to Manufacture Marijuana (1,000+ plants)
18
            Counts 2, 3, 4, 5 and 6 - Manufacturing Marijuana (100+ plants)
19
     Date of Detention Hearing: 07/28/08
20
            The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based
21
     upon the factual findings and statement of reasons for detention hereafter set forth, finds that no
22
     condition or combination of conditions which defendant can meet will reasonably assure the
23
     appearance of defendant as required and the safety of any other person and the community.
24

25
     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
         Case 2:08-cr-00252-RSM           Document 19        Filed 07/28/08      Page 2 of 3



 1               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         (1)     The Indictment establishes probable cause to believe defendant committed the drug

 3                 offenses charged in this case. The maximum penalty for each of these offenses is in

 4                 excess of ten years. There is therefore a rebuttable presumption against defendant as to

 5                 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

 6         (2)     Nothing in the record effectively rebuts that presumption.

 7         (3)     The charges involve a very significant quantity of marijuana. Defendant is charged with

 8                 participation in marijuana grows in at least six different homes.

 9         (4)     Defendant (along with co-defendant Tina Tran) has been identified as a leader and

10                 organizer of this extensive operation. They each owned three of the houses involved.

11         (5)     He has traveled extensively, including trips to Viet Nam, the place of his birth.

12         (6)     He has no significant ties to this district. The very significant potential penalties would

13                 provide him a strong incentive to flee, if released on bond in this case. His recent

14                 employment as a clean-up person in a nail salon in Texas gives little assurance he will

15                 remain, if released in this case.

16         (7)     Defendant is associated with the use of five alias names.

17   It is therefore ORDERED:

18         (1)     Defendant shall be detained pending trial and committed to the custody of the Attorney

19                 General for confinement in a corrections facility separate, to the extent practicable,

20                 from persons awaiting or serving sentences or being held in custody pending appeal;

21         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

22                 counsel;

23         (3)     On order of a court of the United States or on request of an attorney for the

24                 Government, the person in charge of the corrections facility in which defendant is

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     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
        Case 2:08-cr-00252-RSM         Document 19        Filed 07/28/08      Page 3 of 3



 1               confined shall deliver the defendant to a United States Marshal for the purpose of an

 2               appearance in connection with a court proceeding; and

 3        (4)    The clerk shall direct copies of this order to counsel for the United States, to counsel

 4               for the defendant, to the United States Marshal, and to the United States Pretrial

 5               Services Officer.




                                                        A
 6        DATED this 28th day of July, 2008.

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                                                        John L. Weinberg
 9                                                      United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
